            Case 2:19-cv-00319-DBP Document 6 Filed 06/26/19 Page 1 of 5



Robert E. Aycock (#8878)
William B. Chadwick (#16416)
136 E. South Temple, 19th Floor
Salt Lake City, UT 84111
(801) 350-9000
raycock@pamhlaw.com
wchadwick@pamhlaw.com
Attorneys for Plaintiff ComicBookMovie.com

                        IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH

BEST LITTLE SITES, d/b/a
COMICBOOKMOVIE.COM                                        ATTORNEY PLANNING
                                             ,            MEETING REPORT

       Plaintiff,

v.                                                        Case No. 2:19-cv-00319
GREAT BOWERY, d/b/a TRUNK
ARCHIVE,                                                  Magistrate Judge Dustin B. Pead

       Defendant.

1.     PRELIMINARY MATTERS:
       a.      Describe the nature of the claims and affirmative defenses:
       b.      This case is          not referred to a magistrate judge
                                     referred to magistrate judge
                                                 under 636(b)(1)(A)
                                                 under 636(b)(1)(B)
                                X     assigned to a magistrate judge under General Order 07-001
                                     and
                                            all parties consent to the assignment for all proceedings
                                                 or
                                        X        one or more parties request reassignment to a
                                                 district judge
       c.      Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on                     (specify date)
               at                                                  (specify location).

                                                      1
          Case 2:19-cv-00319-DBP Document 6 Filed 06/26/19 Page 2 of 5



             The following attended:
                                                              name of attorney,
                    counsel for                                    name of party
                                                              name of attorney,
                    counsel for                                    name of party
     d.      The parties       have exchanged or _X_ will exchange by 08/23/19 the initial
             disclosures required by Rule 26(a)(1).
     e.      Pursuant to Fed. R. Civ. P. 5(b)(2)(D), the parties agree to receive all items
             required to be served under Fed. R. Civ. P. 5(a) by either (i) notice of electronic
             filing, or (ii) email transmission. Such electronic service will constitute service
             and notice of entry as required by those rules. Any right to service by USPS mail
             is waived.
2.   DISCOVERY PLAN: The parties jointly propose to the court the following discovery
     plan: Use separate paragraphs or subparagraphs as necessary if the parties disagree.
     a.      Discovery is necessary on the following subjects: Briefly describe the subject
             areas in which discovery will be needed.

     Whether Plaintiff’s actions constitute copyright infringement.
     Whether Plaintiff’s actions are protected by the DMCA.
     Whether the individuals who posted the images in question are under the control of
     Plaintiff or posted the images at Plaintiff’s direction.

     b.      Discovery Phases
             Specify whether discovery will (i) be conducted in phases, or (ii) be limited to or
             focused on particular issues. If (ii), specify those issues and whether discovery
             will be accelerated with regard to any of them and the date(s) on which such
             early discovery will be completed.
     Discovery will not be conducted in phases or limited to or focused on particular
     issues.
     c.      Designate the discovery methods to be used and the limitations to be imposed.
             (1)    For oral exam depositions, (i) specify the maximum number for the
                    plaintiff(s) and the defendant(s), and (ii) indicate the maximum number of
                    hours unless extended by agreement of the parties.
                    Oral Exam Depositions
                    Plaintiff(s)   2
                    Defendant(s)       2
                                               2
          Case 2:19-cv-00319-DBP Document 6 Filed 06/26/19 Page 3 of 5



                     Maximum number of hours per deposition           7
              (2)    For interrogatories, requests for admissions, and requests for production
                     of documents, specify the maximum number that will be served on any
                     party by any other party.
                     Interrogatories        25
                     Admissions        50
                     Requests for production of documents        50
              (3)    Other discovery methods: Specify any other methods that will be used and
                     any limitations to which all parties agree.
              Unlimited requests for authentication of documents.
     d.       Discovery of electronically stored information should be handled as follows: Brief
              description of parties’ agreement.
     The Parties will prepare a proposed ESI Order, generally requiring:
          •   Documents to be produced in PDF or TIFF format, unless native format will
              be more convenient
          •   Neither party has an obligation to make its production text-searchable
          •   Each document shall have a bates number
          •   Email production requests shall identify the custodian, search terms and
              time frame.
          •   Each requesting party shall limit its email production requests to a total of 5
              search terms per custodian.
     e.       The parties have agreed to an order regarding claims of privilege or protection as
              trial preparation material asserted after production, as follows: Brief description of
              provisions of proposed order.
     The Parties will adhere to the Standard Protective Order for the United States
     District Court for the District of Utah.
     f.       Last day to file written discovery 12/06/19
     g.       Close of fact discovery 01/17/20
     h.       (optional) Final date for supplementation of disclosures under Rule 26(a)(3) and
              of discovery under Rule 26(e) / /
3.   AMENDMENT OF PLEADINGS AND ADDITION OF PARTIES:
     a.       The cutoff dates for filing a motion to amend pleadings are: specify date
              Plaintiff(s) 09/12/19 Defendant(s) 09/12/19
     b.       The cutoff dates for filing a motion to join additional parties are: specify date
              Plaintiff(s) 09/12/19    Defendants(s) 09/12/19



                                                 3
              Case 2:19-cv-00319-DBP Document 6 Filed 06/26/19 Page 4 of 5



                  (NOTE: Establishing cutoff dates for filing motions does not relieve counsel
                  from the requirements of Fed. R. Civ. P. 15(a)).
4.       EXPERT REPORTS:
         a.       The parties will disclose the subject matter and identity of their experts on
                  (specify dates):
                  Party(ies) bearing burden of proof 02/14/20
                  Counter Disclosures 03/13/20
         b.       Reports from experts under Rule 26(a)(2) will be submitted on (specify dates):
                  Party(ies) bearing burden of proof 02/14/20
                  Counter Reports 03/13/20
5.       OTHER DEADLINES:
         a.       Expert Discovery cutoff: 04/10/20
         b.       Deadline for filing dispositive1 or potentially dispositive motions including
                  motions to exclude experts where expert testimony is required to prove the case.
                  05/01/20
         c.       Deadline for filing partial or complete motions to exclude expert testimony
                  05/01/20
6.       ADR/SETTLEMENT:
         Use separate paragraphs/subparagraphs as necessary if the parties disagree.
         a.       The potential for resolution before trial is: _X_ good                      fair           poor
         b.       The parties intend to file a motion to participate in the Court’s alternative dispute
                  resolution program for:           settlement conference (with magistrate judge):
                  arbitration:                  mediation:
         c.       The parties intend to engage in private alternative dispute resolution for:
                  arbitration:               mediation:         X
d.       The parties will re-evaluate the case for settlement/ADR resolution on (specify date):
         10/04/19
7.       TRIAL AND PREPARATION FOR TRIAL:



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  Dispositive motions, if granted, resolve a claim or defense in the case; nondispositive motions, if granted, affect
the case but do not resolve a claim or defense.

                                                            4
            Case 2:19-cv-00319-DBP Document 6 Filed 06/26/19 Page 5 of 5



       a.      The parties should have       14       days after service of final lists of witnesses and
               exhibits to list objections under Rule 26(a)(3) (if different than the 14 days
               provided by Rule).
       b.      This case should be ready for trial by: specify date 06/23/20
               Specify type of trial: Jury        X       Bench
       c.      The estimated length of the trial is: specify days         3 days



                      William B. Chadwick                          Date:6/26/2019
Signature and typed name of Plaintiff(s) Attorney
                           Mathew K. Higbee                        Date: 6/ 26 /2019
Signature and typed name of Defendant(s) Attorney




                                  NOTICE TO COUNSEL

Instructions to file the Attorney Planning Meeting Report can be found on the court’s Civil
Scheduling webpage.




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